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     Attorney for Plaintiff: Frank Singh
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 7
                                   UNITED STATES DISTRICT COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9
                                             EASTERN DIVISION
10
11
     FRANK SINGH,                                         Case No.: 5:19-cv-02292-JGB-SP
12
                                Plaintiff,
13   v.                                                   NOTICE OF SETTLEMENT
14
     NEW BALANCE ATHLETICS, INC., as an
15   entity and doing business as “New Balance
     Factory Store Ontario”, PAC OPERATING
16
     LIMITED PARTNERSHIP, and DOES 1-50,
17   Inclusive,
18
                               Defendants.
19
20   LET THIS HONORABLE COURT TAKE NOTICE:
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            Plaintiff hereby submits this Notice of Settlement to notify the Court that the lawsuit has
22
     been settled. Plaintiff also requests sixty (60) days in which to file the dismissal in order to ensure
23
     that parties are able to perform under the terms of the settlement agreement.
24
25
     Date: March 9th, 2020                                           Respectfully Submitted,
26
                                                                     /s/Daniel Malakauskas______________
27                                                                   By: Daniel Malakauskas, of,
28                                                                   MALAKAUSKAS LAW, APC,
                                                                     Attorney for Plaintiff



                                              Notice of Settlement
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